                          Case 2:19-cv-01504-KJD-BNW Document 1 Filed 08/28/19 Page 1 of 1

    JS 44 (Rev. 06/17)                                                      CIVIL. COVER SHEET
    The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
    provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
    purpose of initiating the civil docket sheet. (SEEINSTRUCTIONS ONNEXTPAGE OF THISFORM.)

I. (a' PLAINTIFFS
         'THE BOARD OF TRUSTEES, in their capacities as Trustees of the NATIONAL                                     i resaLC
                                                                                                           DieTnFlfigb
          ROOFING INDUSTRY PENSION FUND, NATIONAL ROOFERS RESEARCH
          AND EDUCATION TRUST, NATIONAL ROOFERS UNION & EMPLOYERS
          HEALTH & WELFARE FUND
       (b) County of Residence of First Listed Plaintiff Clark                                              County of Residence of First Listed Defendant    Clark
                                   (EXCEPTIN U.S. PLAINTIFF CASES)                                                                 (IN U.S. PLAINTIFF CASES ONLY)
                                                                                                            NOTE: IN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                    THE TRACT OF LAND INVOLVED.


      (c) Attorneys (Firm Name, Address, and Telephone Number)                                               Attorneys (IfKnown)
           KRISTINA L. HILLMAN; TIFFANY CRAIN ALTAMIRANO
          LAW OFFICE OF KRISTINA L HILLMAN
           Affiliated with Weinberg Roger & Rosenfeld
          1594 Mono Avenue, P.O. Box 1987, Minden, NV 89423; (775) 770-4832

II. BASIS OF JURISDICTION (Place an "X" in One Box OM))                                       III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an "X" in One Boxfor Plaintiff
                                                                                                        (For Diversity Cases Only)                                       and One Box for Defendant)
    0 I U.S. Government                     3 Federal Question                                                                   PTF        DEF                                         PTF      DEF
          Plaintiff                             (U.S. Government Not a Party)                      Citizen of This State         0 1        0 1     Incorporated or Principal Place       0 4    0 4
                                                                                                                                                       of Business In This State

0 2 U.S. Government                      0 4 Diversity                                             Citizen of Another State          0 2    0   2   Incorporated and Principal Place    0 5     0 5
      Defendant                                (Indicate Citizenship of Parties inItem III)                                                            of Business In Another State

                                                                                                   Citizen or Subject of a           0 3    0   3   Foreign Nation                      0 6     0 6
                                                                                                     Foreign Country
      . NATURE OF SUIT (Place an "X" in One Box On                                                                                          Click here for: Nature of Suit Code Descriptions.
                                                                                                     rOMITMAINALTY ,                        iiti      tr.IC •           ,•'''        tItiTES           1
0     110 Insurance                      PERSONAL INJURY                 PERSONAL INJURY           0 625 Drug Related Seizure          0 422 Appeal 28 USC 158      0 375 False Claims Act
0     120 Marine                       0 310 Airplane                  0 365 Personal Injury -           of Property 21 USC 881        0 423 Withdrawal             0 376 Qui Tam (31 USC
0     130 Miller Act                   0 315 Airplane Product                 Product Liability    0 690 Other                               28 USC 157                    3729(a))
0     140 Negotiable Instrument              Liability                 0 367 Health Care/                                                                           0 400 State Reapportionment
0     150 Recovery of Overpayment      0 320 Assault, Libel &                Pharmaceutical                                           M      an.0 410 Antitrust
          & Enforcement of Judgment           Slander                        Personal Injury                                           0 820 Copyrights             0 430 Banks and Banking
0     151 Medicare Act                 0 330 Federal Employers'              Product Liability                                         0 830 Patent                 0 450 Commerce
0     152 Recovery of Defaulted              Liability                 0 368 Asbestos Personal                                         0 835 Patent - Abbreviated   0 460 Deportation
          Student Loans                0 340 Marine                          Injury Product                                                    New Drug Application 0 470 Racketeer Influenced and
          (Excludes Veterans)          0 345 Marine Product                   Liability                                                0 840 Trademark                    Corrupt Organizations
0     153 Recovery of Overpayment            Liability                  PERSONAL PROPERTY                                                '.7,
                                                                                                                                            , ri4f. :i • 4 Wilt     0 480 Consumer Credit
          of Veteran's Benefits        0 350 Motor Vehicle             0 370 Other Fraud           0 710 Fair Labor Standards          0 861 HIA (1395ff)           0 490 Cable/Sat TV
0     160 Stockholders' Suits          0 355 Motor Vehicle             0 371 Truth in Lending             Act                         0 862 Black Lung (923)        0 850 Securities/Conunodities/
0     190 Other Contract                     Product Liability         0 380 Other Personal        0 720 Labor/Management             0 863 DIWC/DIWW (405(g))            Exchange
0     195 Contract Product Liability   0 360 Other Personal                  Property Damage             Relations                     0 864 SSID Title XVI         0 890 Other Statutory Actions
0     196 Franchise                         Injury                     0 385 Property Damage       0 740 Railway Labor Act             0 865 RSI (405(g))           0 891 Agricultural Acts
                                       0 362 Personal Injury -               Product Liability     0 751 Family and Medical                                         0 893 Environmental Matters
                                             Medical Mal ractice                                         Leave Act                                                  0 895 Freedom of Information
r        ltd): , 'if                       G                           Plug"aufMtliCK5             0 790 Other Labor Litigation       11111ADEVei; TAXNUnligt              Act
0    210 Land Condemnation             0 440 Other Civil Rights          Habeas Corpus:            X 791 Employee Retirement           0 870 Taxes (U.S. Plaintiff  0 896 Arbitration
0    220 Foreclosure                   0 441 Voting                    0 463 Alien Detainee             Income Security Act                     or Defendant)       0 899 Administrative Procedure
0    230 Rent Lease & Ejectment        0 442 Employment                0 510 Motions to Vacate                                        0 871 IRS—Third Party               Act/Review or Appeal of
0    240 Torts to Land                 0 443 Housing/                        Sentence                                                           26 USC 7609               Agency Decision
0    245 Tort Product Liability              Accommodations            0 530 General                                                                                0 950 Constitutionality of
0    290 All Other Real Property       0 445 Amer. w/Disabilities -    0 535 Death Penalty     r '                                                                        State Statutes
                                             Employment                  Other:                0 462 Naturalization Application
                                       0 446 Amer. w/Disabilities -    0 540 Mandamus & Other  0 465 Other Immigration
                                             Other                     0 550 Civil Rights            Actions
                                       0 448 Education                 0 555 Prison Condition
                                                                       0 560 Civil Detainee -        .
                                                                             Conditions of
                                                                             Confinement

V. ORIGIN (Place an                in One Box Only)
X l Original              0 2 Removed from                  0 3       Remanded from           O 4 Reinstated or       0 5 Transferred from        0 6 Multidistrict              0 8 Multidistrict
    Proceeding                State Court                             Appellate Court             Reopened                Another District                Litigation -               Litigation -
                                                                                                                          (specifi)                       Transfer                  Direct File
                                           Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):
                                           29 U.S.C. section 1132
VI. CAUSE OF ACTION                        Brief description of cause:
                                           Declaratory Relief, Breach of Contract, Damages and Audit
VII. REQUESTED IN                               CHECK IF THIS IS A CLASS ACTION                      DEMAND $                                   CHECK YES only if demanded in complaint:

     COMPLAINT:                                 UNDER RULE 23, F.R.Cv.P.                                                                        JURY DEMAND:                0 Yes      )1i1No

VIII. RELATED CASE(S)
                                               (See instructions):
     IF ANY                                                           JUDGE                                                                DOCKET NUMBER

DATE                                                                     SIGNATURE OF ATTORNEY OF RECORD
08/28/2019                                                              /s/ Tiffany Crain Altamirano
FOR OFFICE USE ONLY

     RECEIPT #                     AMOUNT                                    APPLYING IFP                                    JUDGE                        MAG. JUDGE
